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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


   IN RE: COOK MEDICAL, INC, IVC FILTERS
   MARKETING, SALES PRACTICES AND                              Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                                                 MDL No. 2570


   This Document Relates to

   Cause No. 1:16-cv-02957



                     JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

            IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned parties,

   pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that the above-captioned case be dismissed without

   prejudice, each party to bear its own costs.

   Dated: May 15, 2017




   By:/s/ Matthew Schultz                              By:/s/ John T. Schlafer
   Matthew Schultz                                     Andrea Roberts Pierson
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                                                       Incorporated, Cook Medical, LLC, and
                                                       William Cook Europe ApS




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                                     CERTIFICATE OF SERVICE

            I hereby certify that on May 15, 2017, a copy of the foregoing Joint Stipulation of

   Dismissal Without Prejudice was filed electronically and notice of the filing of this document

   will be sent to all parties by operation of the Court’s electronic filing system to CM/ECF

   participants registered to receive service in this matter. Parties may access this filing through the

   Court’s system.

            Lead Co-Counsel for Plaintiffs will serve any non-CM/ECF registered parties.



                                                         /s/John T. Schlafer




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